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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 20-80693-CIV-SMITH


 SYMBOLOGY INNOVATIONS, LLC,

                 Plaintiff,
 vs.

 IPIC THEATRES, LLC.,

             Defendant.
 _______________________________/

                                 ORDER OF FINAL DISMISSAL

         This matter is before the Court on the parties’ Joint Motion to Dismiss [DE 17], seeking

 dismissal with prejudice of all claims against Defendant IPIC Theatres, LLC and dismissal without

 prejudice of all counterclaims against Plaintiff Symbology Innovations, LLC. Upon consideration,

 it is

         ORDERED that:

         1.     The parties’ Joint Motion to Dismiss [DE 17] is GRANTED:

                a)      All claims against Defendant are DISMISSED with prejudice .

                b)      All counterclaims against Plaintiff are DISMISSED without prejudice.

         2.     All pending motions not otherwise ruled upon are DENIED as moot.

         3.     This case is CLOSED.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 7th day of July, 2020.



                                             ________________________________
                                             RODNEY SMITH
                                             UNITED STATES DISTRICT JUDGE
 cc:     All counsel of record
